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Attorneys for Plaintiff Antonio S. Camacho

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN MARIANA ISLANDS

ANTONIO S. CAMACHO Civil Action No. 05-0043

Plaintiff,

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COMMONWEALTH OF THE

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) REQUEST TO DISSOLVE

)
NORTHERN MARIANA ISLANDS, )

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WRIT OF EXECUTION

DEPARTMENT OF PUBLIC LANDS,
successor to the Marianas Public Lands
Authority, and DEPARTMENT OF
PUBLIC WORKS,

Defendants.

 

COMES NOW, Plaintiff Antonio S. Camacho to request that that the Court DISSOLVE the
Writ of Execution it issued on October 27, 2008 (which Writ is attached hereto as Exhibit “A”).
Plaintiff requests the dissolution of the Writ of Execution because on October 31, 2008, the entire
amount due under the Writ of Execution was paid to Plaintiff with the assistance of the United States
Marshals Service.

Respectfully submitted on
this 3"! day of November, 2008.

_!s/
MICHAEL W. DOTTS
O’Connor Berman Dotts & Banes
Attorneys for Plaintiff

 

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OCT 27 2008
IN THE UNITED STATES DISTRICT CouRT US MARSHALS SERVICE-CNMI
FOR THE NGRTHERN MARIANA ISLANDS FILED
Clark
ANTONIO S. CAMACHO )} Civil Action No. 05-0043 District Court
) a
Plaintiff, ) OF 25 ARB
vs. Fer The Northem Mariana Islands
) (Deputy Clark
COMMONWEALTH OF THE ) WRIT OF EXECUTION
NORTHERN MARIANA ISLANDS, )
DEPARTMENT OF PUBLIC LANDS, )
successor to the Marianas Public Lands ) Returnable November 7, 2608
Authority, ané DEPARTMENT OF )
PUBLIC WORKS, )
)
Defendants. }
)

 

UNITED STATES OF AMERICA, to the Marshal of the United States in and for the
Norther Mariana isiands. |

GREETINGS:

WHEREAS, on the 8" of December, 2006, at the District Court of the United States for the
Northern Marianas Islands, before the Honorable Aiex R. Munson, Judge thereof, Plaintiff, Antonio
S. Camacho, recovered against Defendants Commonwealth of the Northern Mariana Islands,
Marianas Public Lands Authority, successor to Marianas Public Lands Corporation and Department
of Public Works, damages in the amount of $240,749.50 as and for the principal balance unsatisfied
on the judgment rendered herein and in the sum of $239,397.00 (plus costs awarded of $1,352.50 for
an aggregate balance of $240,749.50) pursuant to this Court’s Judgment entered December 8, 2006,

plus $31.65 per diem as postjudgment interest (calculated as $240,749.50 x 4.95 %! divided by 365

 

' 495% was the “weekly average l-year constant maturity Treasury yield” for December 1, 2006, the calendar week
preceeding the date of Judgment. 28 U.S.C. 1961(b}.

Exhibit «4»
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days) from and after December 8, 2006, until the date the judgment is satisfied, in an action decided

in said Court, as appears to this Court of record, of which ne portion of said sum has been paid.

YOU ARE, THEREFORE, commanded that of the funds held in bank accounts, goods and
chatiels and any other personal property of the said Defendant and Judgment Debtor,
Commonwealih of the Northera Mariana Islands, Marianas Public Lands Authority, successor to
Marianas Public Lands Corporation and Department of Public Works, you cause to be retained the
unpaid balance of $262,714.60, plus per diem interest from and after October 24, 2008, at the rate of
$31.35 per day until the date the Judgment is satisfied, and that you have the same before the Judge
of our said court on November 7, 2008, to render to the same Plaintiff, Antonio S. Camacho, and that

you certify to our said Judge how you executed this writ.

WITNESS, the Judge of the United States District
The Northern Mariana islands, this 7 th day

of October, 2008. Issued on the Island of

Saipan, under the seal of said District Court, the day
and year last mentioned.

JUDGE, UNITED STATES DISTRICT COURT FOR
THE NORTHERN MARIANA ISLANDS

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By: eer
Hon. ALEX R. MUNSON, JUDGE

 

Case No. __ 05-0043 Marshal’s Docket No.
Judgmeni and costs $ 240,749.50
Postjudgment interest through 10/24/08 $ 21,965.10
Total as of 10/24/08 $ 262,714.60

1600-02-081023-Writ of Execution
